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              EXHIBIT 14
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   Thorsten Kiefer




   December 31, 2020

   The Honorable Frederic Block
   United States District Judge Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Re: John Simonlacaj

   Dear Judge Block,

   I am writing this as a personal reference for my friend and former colleague, John Simonlacaj, and to
   urge leniency in his sentencing.

   I have known John for more than seven years as my colleague at HFZ. My role at HFZ was Director
   of Design and I directly reported to John. In a very fast-growing environment, he has been nothing
   but a leader to help execute the projects and help the team to focus on the success on any of the
   daily complexities. He has been nothing but a generous and caring leader to the entire team which
   reported to him, with the sole purpose of allowing all of us to succeed in our roles. He had an open-
   door policy at work – probably the only way to handle the amount of people who needed advice and
   direction. Despite that level of stress, he always was able to put a smile on people’s faces and put
   things into a larger perspective. He made people comfortable and he always understood that a
   healthy compromise is most often the appropriate solution.

   Though I am aware of and acknowledge John's legal situation, I would like to stress that he always
   had been a positive presence in any professional situation and has been a caring husband and
   father to his three children. I was lucky to get to know his wife Drita and his children Nik,     and
          . He has been nothing but a loving father, always there for his children – if it was for Nik’s
   college times or         endeavors to pursuit her singing career, he would finish the conversation or
   assign the task and jet off to be there for his family as loving and caring father. He is a man with a
   strong faith, which must have given him another anchor in his very engaged life. I understand that
   the Sunday morning church is a weekly routine for him.

   John’s legal situation is certainly unfortunate and disappointing – but also surprising from my
   perspective. I wish to reiterate my request for leniency in John's sentencing so that he may put
   behind him a regrettable episode and can be the positive and caring person I got to know.

   Thank you very much for your consideration – please don’t hesitate to reach out if you need any
   further information.

   Sincerely,

   Thorsten Kiefer
